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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
                  v.                         )
                                             )       Crim. No. 18-10250-DJC
BRANDON JAMES ZIOBROWSKI,                    )
                                             )
       Defendant.                            )
                                             )

                              Government’s Initial Status Report

       Pursuant to Local Rule 116.5(a), the United States reports as follows:

       (1)     The status of automatic discovery and any pending discovery requests –

Automatic discovery is complete. There are no pending discovery requests.

       (2)     The timing of any additional discovery to be produced – The

government will make the pre-trial disclosures called for under Local Rule 116.2(b)(2) in

accordance with that rule.

       (3)     The timing of any additional discovery requests – The government has not

received information from the defendant regarding the timing of any future discovery requests.

       (4)     Protective orders – At present, the government does not seek a protective order.

       (5)     Pretrial motions under Fed. R. Crim. P.12(b) – The government has not received

information from the defendant regarding his intention to file any motions under Fed. R. Crim.

P. 12(b).

       (6)     Timing of expert disclosures – Should expert testimony prove necessary, the

government proposes that the government make the requisite expert witness disclosures 45 days

before trial and that the defendant make reciprocal discovery 30 days before trial.




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       (7)     Speedy Trial Act calculations – The 70-day period specified in 18 U.S.C.

§ 3161(c)(1) commenced on September 6, 2018, with the defendant’s arraignment (the date on

which the defendant first appeared before a judicial officer of the court in which the charge

against him is pending). See Dkt. 16; see also 18 U.S.C. § 3161(c)(1). (Independently, the time

from August 13, 2018 through September 16, 2018 has been excluded from the Speedy Trial

clock by order of the Court under 18 U.S.C. § 3161(h)(7)(A). See Dkt. 17.) On September 9,

2018 the government filed an assented-to motion to exclude the time between September 6 and

October 23, 2018, and on September 19, 2018, the Court granted the motion. See Dkts. 18, 19.

Accordingly, on the date of the status conference, no non-excludable days will have elapsed, and

70 days will remain on the Speedy Trial clock.

       The government notes, however, that the order of excludable delay docketed in this case

on September 19, 2018 (Dkt. 20) appears to be an order from a different case, United States v.

Perez-Peguero, No. 18-cr-10303-DPW (D. Mass.). The government asks that the docket in this

case be corrected to reflect the exclusion of September 6 and October 23, 2018, in accordance

with the electronic order entered as Dkt. 19.

       (8)     Timing of an interim status conference – The government asks that the Court

exclude the period until any interim status conference requested by the defendant under

18 U.S.C. § 3161(h)(7) in order that the defendant may have adequate time to review discovery

and formulate a discovery plan, if necessary.




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                                                       Respectfully submitted,

                                                       ANDREW E. LELLING
                                                       United States Attorney

                                                By:   /s/ Brian A. Pérez-Daple
                                                      B. Stephanie Siegmann
                                                      Brian A. Pérez-Daple
                                                      Assistant U.S. Attorneys


                                       Certificate of Service

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.


Dated: October 22, 2018                                /s/ Brian A. Pérez-Daple
                                                       Assistant United States Attorney


                                    Certificate of Consultation

       I hereby certify that, before filing this document, I attempted unsuccessfully to reach

defense counsel in order to file a joint memorandum in accordance with Local Rule 116.5.


Dated: October 22, 2018                                /s/ Brian A. Pérez-Daple
                                                       Assistant United States Attorney




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